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12                        IN THE UNITED STATES DISTRICT COURT
13                               FOR THE DISTRICT OF ARIZONA
14

15   A.I.I.L., on behalf of herself and her minor      Case No. 4:19-cv-00481-JCH
     children, J.A.H.I. and M.E.H.I.; L.L.H.O.,
16   on behalf of herself and her minor child,                 ANSWER
     K.E.O.H.; J.L.V.A., on behalf of himself and
17
     his minor child, D.S.V.H.; J.I.S., on behalf of
18   himself and his minor child, B.L.S.P.; and
     J.J.P.B., on behalf of himself
19   and his minor child, A.E.P.F.,
20
                   Plaintiffs,
21
            v.
22

23   United States of America,

24                  Defendant.
25

26

27

28
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 1                    ANSWER TO THE FIRST AMENDED COMPLAINT

 2           The United States of America submits the following Answer to Plaintiffs’ First
 3
     Amended Complaint (ECF No. 41) as follows:
 4
                                             First Defense
 5

 6           The Court lacks subject matter jurisdiction over Plaintiffs’ claims.

 7                                          Second Defense
 8
             Plaintiffs’ claims are barred to the extent that they are based on the exercise or
 9
     performance or the failure to exercise or perform a discretionary function or duty. 28
10

11   U.S.C. § 2680(a).

12                                          Third Defense
13
             Plaintiffs’ claims are barred to the extent that they are based on the execution of
14
     federal statutes or regulations. 28 U.S.C. § 2680(a).
15

16                                          Fourth Defense

17           Plaintiffs have failed to state a claim on which relief may be granted in whole or in
18
     part.
19
                                             Fifth Defense
20

21           The United States, through employees, did not owe a legal duty to Plaintiffs.

22                                           Sixth Defense
23
             The United States, through employees, did not breach a legal duty owed to
24
     Plaintiffs.
25

26
                                           Seventh Defense

27           The United States has waived its sovereign immunity only for the actions of
28
                                                    2
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 1   “employees of the government” as defined in 28 U.S.C. § 2671.

 2                                          Eighth Defense
 3
            Acts or omissions of the United States, through employees, were not the proximate
 4
     cause of injury to Plaintiffs.
 5

 6                                          Ninth Defense

 7          In the event the United States is found to have been negligent or otherwise
 8
     wrongful, which negligence or wrongful conduct is denied, the superseding and
 9
     intervening negligence or wrongful conduct of third parties, for whom the United States
10

11   cannot be held liable, broke any causal connection between the United States’ negligence

12   or wrongful conduct and Plaintiffs’ alleged injuries, cutting off the legal effect of the
13
     United States’ negligence or wrongful conduct.
14
                                            Tenth Defense
15

16          Plaintiffs’ recovery of damages, if any, is limited by federal and applicable state

17   law.
18
                                           Eleventh Defense
19
            Plaintiffs’ recovery against the United States, if any, is limited to the amount
20

21   stated in timely and properly presented administrative claims. 28 U.S.C. § 2675(b). To

22   the extent Plaintiffs have not timely or properly presented administrative tort claims, or
23
     seek relief different from, or in excess of, that set forth in a timely and properly filed
24
     administrative tort claim, Plaintiffs have not exhausted their administrative remedies.
25

26
                                           Twelfth Defense

27

28
                                                    3
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 1           Plaintiffs may not recover punitive damages, non-monetary damages, or pre-

 2   judgment interest under the Federal Tort Claims Act. 28 U.S.C. § 2674.
 3
                                          Thirteenth Defense
 4
             To the extent the Court enters a money judgment against the United States,
 5

 6   Plaintiffs are entitled to post-judgment interest only in accordance with the provisions of

 7   28 U.S.C. § 1961(b) and 31 U.S.C. § 1304(b).
 8
                                         Fourteenth Defense
 9
             Plaintiffs’ claims are barred by any exception to or limitation on the United States’
10

11   waiver of sovereign immunity.

12                                         Fifteenth Defense
13
             Under the FTCA, the United States only may be held liable in the same manner
14
     and to the same extent as a private individual under like circumstances. 28 U.S.C. §
15

16   2674.

17                                        Sixteenth Defense
18
             To the extent that there are persons who were comparatively at fault, whether or
19
     not they are currently parties to this lawsuit, principles of comparative fault apply and
20

21   liability must be apportioned or any judgment reduced as set forth under applicable state

22   law.
23
                                         Seventeenth Defense
24
             Plaintiffs’ claims are barred or diminished by Plaintiffs’ failure to mitigate
25

26
     damages.

27                                        Eighteenth Defense
28
                                                    4
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 1          The United States asserts that it has, or may have, additional affirmative defenses

 2   that are not known to the United States at this time but may be ascertained through
 3
     discovery. The United States specifically preserves these and other affirmative defenses
 4
     as may be ascertained through discovery.
 5

 6                                       Nineteenth Defense

 7          Plaintiffs’ claims are barred to the extent they are based on misrepresentations. 28
 8
     U.S.C. § 2680(h).
 9
                                         Twentieth Defense
10

11          As for its twenty-first defense, the United States submits the following General

12   Answer and Specific Answers in responses to the separate paragraphs of the Amended
13
     Complaint.
14
                                           General Answer
15

16          Plaintiffs quote various documents throughout their First Amended Complaint,

17   including cases, media articles, and investigatory reports. Accordingly, in the following
18
     specific answers, to the extent a paragraph cites a source solely as support for a factual
19
     allegation, the United States answers the allegation in accordance with Rule 8 by either
20

21   admitting, denying, or pleading lack of sufficient information with respect to the factual

22   allegation. The citation of the source underlying the factual allegation is in and of itself
23
     not a factual allegation requiring a response. However, to the extent a paragraph contains
24
     a factual allegation, quotes a source in whole or in part in a manner requiring a response
25

26
     as to its truthfulness or accuracy, or specifically describes the findings or conclusions of a

27   report, policy, or other cited source, the United States answers the allegation in
28
                                                   5
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 1   accordance with Rule 8 as part of the following specific answers to each paragraph of the

 2   Amended Complaint. Furthermore, insofar as there are allegations regarding the
 3
     subjective mindset, knowledge, or motivation of various Executive Branch officials and
 4
     employees, those allegations are denied throughout the Answer. Additionally, insofar as
 5

 6   allegations relate to or reference the identities, ages, relationships, and nationalities of

 7   Plaintiffs, those allegations are denied throughout the Answer on the ground that
 8
     Defendant lacks information sufficient to form a belief as to the allegations because
 9
     Plaintiffs are proceeding pseudonymously. Admissions or denials, in full or in part, of
10

11   such allegations are qualified that the United States is answering based on its belief, but

12   lack of certainty, as to the identities of Plaintiffs. Finally, the United States notes that
13
     Plaintiffs J.J.P.B. and A.E.P.F., as well as the individual defendants, have been dismissed
14
     from this action. See ECF 77 at 19; ECF 76 at 35. Therefore, no response as to
15

16   allegations made by J.J.P.B. and A.E.P.F., or allegations against the individual

17   defendants, is necessary.
18
                                   Specific Answers by Paragraph
19
            1.     Defendant admits that this action seeks damages. Defendant denies the
20

21   remaining allegations.

22          2.     Defendant admits that some parents were separated from their children
23
     since 2017. Defendant denies that no explanations were given and that no information
24
     was given to either the child or parent about each other’s whereabouts. Defendant lacks
25

26
     information sufficient to form a belief as to the remaining allegations.

27          3.     Defendant admits that the person believed to be Jaime was eight years old
28
                                                    6
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 1   at the time of the separation and that the person believed to be Mateo was seven years old

 2   at the time of the separation. Defendant admits that the person believed to be Ana is the
 3
     mother of the persons believed to be Jaime and Mateo. Defendant lacks information
 4
     sufficient to form a belief as to the remaining allegations.
 5

 6          4.     Defendant admits that the person believed to be Karina was thirteen years

 7   old at the time of the separation. Defendant admits that the person believed to be Lorena
 8
     is the mother of the person believed to be Karina. Defendant lacks information sufficient
 9
     to form a belief as to the remaining allegations.
10

11          5.     Defendant admits that the person believed to be Diana was seven years old

12   at the time of the separation. Defendant admits that the person believed to be Jorge is the
13
     father of the person believed to be Diana. Defendant lacks information sufficient to form
14
     a belief as to the remaining allegations.
15

16          6.     Defendant admits that the person believed to be Beatriz was three years old

17   at the time of the separation. Defendant admits that the person believed to be Jairo is the
18
     father of the person believed to be Beatriz. Defendant lacks information sufficient to
19
     form a belief as to the remaining allegations.
20

21          7.     These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from

22   this action. Therefore, no response is necessary.
23
            8.     The allegation that senior governmental officials conspired together to
24
     violate the law is not a statement of fact but a conclusion of law to which no answer is
25

26
     required. To the extent an answer is required, Defendant denies this allegation.

27   Defendant lacks information sufficient to form a belief as to the remaining allegations.
28
                                                   7
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 1          9.      Defendant admits that the United States is a defendant. Defendant denies

 2   the remaining allegations.
 3
            10.     Defendant denies these allegations.
 4
            11.     The allegation that Defendant ignored its duty to care for separated families
 5

 6   is not a statement of fact but a conclusion of law to which no response is required. To the

 7   extent a response is required, Defendant denies this allegation. Defendant denies that it
 8
     failed to take basic steps to protect children, maintain information on family units, or
 9
     mitigate Plaintiffs’ suffering while in government custody. Defendant admits that within
10

11   the United States Department of Homeland Security (“DHS”), U.S. Customs and Border

12   Protection (“CBP”) is the entity primarily responsible for interdicting family units who
13
     illegally enter the United States. Defendant admits that the United States Department of
14
     Health and Human Services (“HHS”) and its component, the Office of Refugee
15

16   Resettlement (“ORR”), are responsible for caring for minor non-citizen children after

17   they are separated from their parents.
18
            12.     Defendant lacks information sufficient to form a belief as to these
19
     remaining allegations.
20

21          13.     Defendant admits that the quoted words are found in the cited document.

22   Insofar as the quotations are allegations, Defendant lacks information sufficient to form a
23
     belief as to these allegations. Defendant lacks information sufficient to form a belief as
24
     to the remaining allegations.
25

26
            14.     Defendant lacks information sufficient to form a belief as to the remaining

27   allegations.
28
                                                   8
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 1          15.     The allegation that Plaintiffs suffered harm as a result of the intentional and

 2   negligent acts of U.S. government officials is not a statement of fact but a conclusion of
 3
     law to which no response is required. To the extent a response is required, Defendant
 4
     denies this allegation. Defendant denies that U.S. governmental officials purposefully
 5

 6   acted to inflict harm and instill terror on Plaintiffs and other Central American

 7   immigrants. Defendant lacks information sufficient to form a belief as to the remaining
 8
     allegations.
 9
            16.     Defendant admits that the quoted words are found in the cited document.
10

11   Insofar as the quotations are allegations, Defendant lacks information sufficient to form a

12   belief as to these allegations. Defendant lacks information sufficient to form a belief as
13
     to the remaining allegations.
14
            17.     These allegations are not statements of fact but are conclusions of law to
15

16   which no answer is required. To the extent an answer is required, Defendant denies these

17   allegations.
18
            18.     Defendant denies the first allegation. Defendant lacks information sufficient
19
     to form a belief as to the second allegation.
20

21          19.     Defendant admits that the persons believed to be Ana, Mateo, and Jaime are

22   Guatemalan nationals. Defendant admits that the person believed to be Ana is the mother
23
     of the persons believed to be Mateo and Jaime. Defendant denies that Jaime was nine
24
     years old at the time and Mateo was ten years old at the time the First Amended
25

26
     Complaint was filed. Defendant admits that the person believed to be Ana was detained

27   in Arizona. Defendant lacks information sufficient to form a belief as to the remaining
28
                                                     9
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 1   allegations.

 2          20.     Defendant admits that the persons believed to be Lorena and Karina are
 3
     Salvadorian nationals. Defendant admits that the person believed to be Lorena is the
 4
     mother of the person believed to be Karina. Defendant admits that the person believed to
 5

 6   be Karina was approximately 16 years old when the First Amended Complaint was filed.

 7   Defendant denies that the person believed to be Karina was “forcibly” separated.
 8
     Defendant admits that the person believed to be Lorena was detained at a facility in
 9
     Arizona. Defendant admits that the person believed to be Karina was placed at
10

11   Southwest Key Casa Kokopelli in Mesa, Arizona, and then at Cayuga Centers LTFC in

12   New York. Defendant lacks information sufficient to form a belief as to the remaining
13
     allegations.
14
            21.     Defendant admits that the persons believed to be Jorge and Diana are
15

16   Honduran nationals. Defendant admits that the person believed to be Jorge is the father

17   of the person believed to be Diana. Defendant admits that the person believed to be
18
     Diana was approximately nine years old when the First Amended Complaint was filed.
19
     Defendant admits that the person believed to be Diana was placed at Southwest Key
20

21   facilities in Glendale and Phoenix, Arizona. Defendant lacks information sufficient to

22   form a belief as to the remaining allegations.
23
            22.     Defendant admits that the persons believed to be Jairo and Beatriz are
24
     Guatemalan nationals. Defendant admits that the person believed to be Jairo is the father
25

26
     of the person believed to be Beatriz. Defendant admits that the person believed to be

27   Beatriz was approximately six years old when the First Amended Complaint was filed.
28
                                                  10
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 1   Defendant admits that the person believed to be Jairo was detained at a facility in

 2   Florence, Arizona. Defendant lacks information sufficient to form a belief as to the
 3
     remaining allegations.
 4
            23.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
 5

 6   this action. Therefore, no response is necessary.

 7          24.    Defendant admits that this action was brought by Plaintiffs. The remaining
 8
     allegations relate to claims against the individual defendants, who were dismissed from
 9
     this action. Therefore, no response is necessary.
10

11          25.    These allegations are not statements of fact but conclusions of law to which

12   no response is required. To the extent a response is required, Defendant admits that the
13
     United States of America is the appropriate defendant in an action brought under the
14
     Federal Torts Claim Act (“FTCA”).
15

16          26.    These allegations relate to claims against the individual defendants, who

17   were dismissed from this action. Therefore, no response is necessary.
18
            27.    Defendant admits that Jefferson Beauregard Sessions III was Attorney
19
     General from February 9, 2017 to November 7, 2018. The remaining allegations are not
20

21   statements of fact but conclusions of law to which no response is required. To the extent

22   a response is required, Defendant lacks information sufficient to form a belief as to this
23
     allegation.
24
            28.    Defendant admits that Gene Hamilton was a Counselor to Attorney General
25

26
     William Barr at the time the First Amended Complaint was filed. Defendant admits that

27   Hamilton was a Counselor to Attorney General Sessions in 2017 and that Hamilton was
28
                                                  11
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 1   previously a senior counselor to the Secretary of DHS. Defendant lacks information

 2   sufficient to form a belief as to the remaining allegations.
 3
            29.     Defendant admits that John F. Kelly was the White House Chief of Staff
 4
     from July 31, 2017 to January 2, 2019. Defendant admits that Kelly was Secretary of
 5

 6   DHS from January 20, 2017 to July 31, 2017. Defendant lacks information sufficient to

 7   form a belief as to the remaining allegations.
 8
            30.     Defendant admits that Stephen Miller was a Senior Advisor to the President
 9
     of the United States at the time the First Amended Complaint was filed. Defendant
10

11   admits that Miller had been an advisor to former President Donald Trump since January

12   20, 2017. Defendant lacks information sufficient to form a belief as to the remaining
13
     allegations.
14
            31.     Defendant admits that Kirstjen Nielsen was Secretary of DHS from
15

16   December 6, 2017 to April 10, 2019. Defendant admits that Nielsen held prior positions

17   as White House Principle Deputy Chief of Staff to then White House Chief of Staff John
18
     F. Kelly, and as Chief of Staff to John F. Kelly while he was Secretary of DHS. The
19
     remaining allegations are not statements of fact but are conclusions of law to which no
20

21   response is required. To the extent a response is required, Defendant lacks information

22   sufficient to form a belief as to these allegations.
23
            32.     Defendant admits that Kevin K. McAleenan was Acting Secretary of DHS
24
     from April 11, 2019 to November 13, 2019. Defendant admits that McAleenan was the
25

26
     Acting Commissioner of CBP from January 20, 2017 to March 20, 2018 and then

27   Commissioner of CBP from March 20, 2018 to April 11, 2019. The remaining
28
                                                   12
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 1   allegations are not statements of fact but are conclusions of law to which no response is

 2   required. To the extent a response is required, Defendant lacks information sufficient to
 3
     form a belief as to these allegations.
 4
            33.    Defendant admits that Mark Morgan was the Acting Commissioner of the
 5

 6   CBP at the time the First Amended Complaint was filed. Defendant admits that Morgan

 7   was Acting Director of United States Immigration and Customs Enforcement (“ICE”)
 8
     from May 28, 2019 to July 5, 2019. The remaining allegations are not statements of fact
 9
     but are conclusions of law to which no response is required. To the extent a response is
10

11   required, Defendant lacks information sufficient to form a belief as to these allegations.

12          34.    Defendant admits that Thomas Homan was Acting Director of ICE from
13
     January 30, 2017 to June 29, 2018. The remaining allegations are not statements of fact
14
     but are conclusions of law to which no response is required. To the extent a response is
15

16   required, Defendant lacks information sufficient to form a belief as to these allegations.

17          35.    Defendant admits that Ronald D. Vitiello was Acting Director of ICE from
18
     June 30, 2018 to April 12, 2019. Defendant admits that Vitiello was Acting Deputy
19
     Commissioner of ICE from April 25, 2017 to June 29, 2018, and Deputy Commissioner
20

21   of ICE from June 30, 2018 to April 12, 2019, and Chief of the United States Border

22   Patrol from February 1, 2017 to April 25, 2017. The remaining allegations are not
23
     statements of fact but are conclusions of law to which no response is necessary. To the
24
     extent a response is required, Defendant lacks information sufficient to form a belief as to
25

26
     these allegations.

27          36.     Defendant denies that Matthew Albence was Acting Director of ICE at the
28
                                                  13
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 1   time the First Amended Complaint was filed. Defendant admits that Albence was Deputy

 2   Director of and Executive Associate Director for Enforcement and Removal Operations.
 3
     The remaining allegations are not statements of fact but are conclusions of law to which
 4
     no response is required. To the extent a response is required, Defendant lacks
 5

 6   information sufficient to form a belief as to these allegations.

 7          37.     Defendant admits that L. Francis Cissna was the Director of U.S.
 8
     Citizenship and Immigration Services (“USCIS”) from 2017 to 2019. The remaining
 9
     allegations are not statements of fact but are conclusions of law to which no response is
10

11   required. To the extent a response is required, Defendant lacks information sufficient to

12   form a belief as to these allegations.
13
            38.     Defendant admits that Carla Provost was Chief of United States Border
14
     Patrol at CBP from August 9, 2018 to January 31, 2020. Defendant admits that Provost
15

16   was previously the Deputy Chief of United States Border Patrol and Acting Chief of

17   United States Border Patrol. The remaining allegations are not statements of fact but are
18
     conclusions of law to which no response is required. To the extent a response is required,
19
     Defendant lacks information sufficient to form a belief as to these allegations.
20

21          39.     Defendant lacks information sufficient to form a belief as to these

22   allegations.
23
            40.     Defendant admits that Alex Azar was Secretary of HHS at the time the First
24
     Amended Complaint was filed. The remaining allegations are not statements of fact but
25

26
     are conclusions of law to which no response is required. To the extent a response is

27   required, Defendant lacks information sufficient to form a belief as to these allegations.
28
                                                  14
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 1          41.     Defendant admits that Margaret Wynne was Counselor for Human

 2   Services Policy of HHS. Defendant lacks information sufficient to form a belief as to the
 3
     remaining allegations.
 4
            42.     Defendant admits that E. Scott Lloyd was Director of ORR from March
 5

 6   2017 to November 2018. The remaining allegations are not statements of fact but are

 7   conclusions of law to which no response is required. To the extent a response is required,
 8
     Defendant lacks information sufficient to form a belief as to these allegations.
 9
            43.     Defendant lacks information sufficient to form a belief as to these
10

11   allegations.

12          44.     Defendant lacks information sufficient to form a belief as to these
13
     allegations.
14
            45.     These allegations relate to claims against the individual defendants, who
15

16   have been dismissed from this action. Therefore, no response is necessary.

17          46.     The allegation that this Court has subject matter jurisdiction is not a
18
     statement of fact but a conclusion of law to which no response is required. To the extent
19
     a response is required, Defendant denies this allegation. As to the remaining allegations,
20

21   because Plaintiffs are proceeding pseudonymously, Defendant lacks information

22   sufficient to form a belief as to whether Plaintiffs submitted administrative tort claims.
23
     The allegations regarding exhaustion of administrative remedies are not statements of
24
     fact but are conclusions of law to which no response is required. To the extent that an
25

26
     answer is required, Defendant denies these allegations.

27          47.     Because the individual defendants were dismissed from this case, no
28
                                                   15
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 1   response is necessary as to the allegations relating to claims against them. The remaining

 2   allegations are not statements of fact but are conclusions of law to which no response is
 3
     required. To the extent that an answer is required, Defendant denies these allegations.
 4
            48.    Defendant admits these allegations.
 5

 6          49.    Defendant admits that the named locations are ports of entry at the Arizona

 7   border. The remaining allegations relate to claims against the individual defendants, who
 8
     were dismissed from this action. Therefore, no response is necessary.
 9
            50.     Defendant admits that the named sites are CBP Border Patrol Stations in
10

11   Arizona. The remaining allegations relate to claims against the individual defendants,

12   who were dismissed from this action. Therefore, no response is necessary.
13
            51.    Defendant admits that there are facilities in Arizona where non-citizens are
14
     detained. The remaining allegations relate to claims against the individual defendants,
15

16   who were dismissed from this action. Therefore, no response is necessary.

17          52.    Defendant admits that some unaccompanied children are placed at facilities
18
     located in Arizona. To the extent the allegations relate to claims against the individual
19
     defendants, who were dismissed from this action, no response is necessary. Defendant
20

21   lacks information sufficient to form a belief as to the remaining allegations.

22          53.     These allegations are not statements of facts but are conclusions of law to
23
     which no response is required. To the extent a response is required, Defendant lacks
24
     information sufficient to form a belief as to these allegations.
25

26
            54.     These allegations are not statements of facts but are conclusions of law to

27   which no response is required. To the extent a response is required, Defendant lacks
28
                                                  16
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 1   information sufficient to form a belief as to these allegations.

 2          55.     Defendant lacks information sufficient to form a belief as to these
 3
     allegations.
 4
            56.     Defendant lacks information sufficient to form a belief as to these
 5

 6   allegations.

 7          57.     Defendant lacks information sufficient to form a belief as to these
 8
     allegations.
 9
            58.     Defendant lacks information sufficient to form a belief as to these
10

11   allegations.

12          59.     These allegations are not statements of fact but are conclusions of law to
13
     which no response is required. To the extent a response is required, Defendant lacks
14
     information sufficient to form a belief as to these allegations.
15

16          60.     These allegations are not statements of fact but are conclusions of law to

17   which no response is required. To the extent a response is required, Defendant lacks
18
     information sufficient to form a belief as to these allegations.
19
            61.     Defendant admits that the persons believed to be Mateo and Jaime were
20

21   seven and eight years old, respectively, when they were apprehended with the person

22   believed to be Ana. Defendant admits that the person believed to be Ana is the mother of
23
     the persons believed to be Mateo and Jaime. Defendant lacks information sufficient to
24
     form a belief as to the remaining allegations.
25

26
            62.     Defendant admits that the persons believed to be Mateo, Jaime, and Ana

27   were apprehended on May 25, 2018 near San Luis, Arizona. Defendant lacks
28
                                                  17
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 1   information sufficient to form a belief as to the remaining allegations.

 2          63.     Defendant admits that the persons believed to be Mateo, Jaime, and Ana
 3
     were taken into CBP custody and were transported to a CBP facility for processing.
 4
     Defendant lacks information sufficient to form a belief as to the remaining allegations.
 5

 6          64.     Defendant admits that the persons believed to be Mateo and Jaime were

 7   separated from the person believed to be Ana. Defendant denies that the person believed
 8
     to be Mateo was “tor[n]” from the person believed to be Ana. Defendant lacks
 9
     information sufficient to form a belief as to the remaining allegations.
10

11          65.     Defendant lacks information sufficient to form a belief as to these

12   allegations.
13
            66.     Defendant lacks information sufficient to form a belief as to these
14
     allegations.
15

16          67.     Defendant admits that the persons believed to be Mateo and Jaime were

17   transferred to ORR custody. Defendant denies the second sentence of this allegation.
18
     Defendant lacks information sufficient to form a belief as to the remaining allegations.
19
            68.     Defendant denies that the person believed to be Ana was not given an
20

21   opportunity to bathe and was not given personal hygiene products for two weeks.

22   Defendant lacks information sufficient to form a belief as to the remaining allegations.
23
            69.     Defendant lacks information sufficient to form a belief as to these
24
     allegations.
25

26
            70.     Defendant admits that the person believed to be Ana was transported to the

27   Eloy Detention Center in Eloy, Arizona.
28
                                                  18
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 1            71.   Defendant lacks information sufficient to form a belief as to these

 2   allegations.
 3
              72.   Defendant admits that the persons believed to be Mateo and Jaime were
 4
     placed in Florida. Defendant lacks information sufficient to form a belief as to the
 5

 6   remaining allegations.

 7            73.   Defendant admits that the person believed to be Ana was released on bond
 8
     on July 6, 2018. Defendant admits that the person believed to be Ana reunited with the
 9
     persons believed to be Mateo and Jaime. Defendant lacks information sufficient to form
10

11   a belief as to the remaining allegations.

12            74.   Defendant admits that the persons believed to be Mateo and Jaime were
13
     released to the custody of the person believed to be Ana on July 13, 2018. Defendant
14
     lacks information sufficient to form a belief as to the remaining allegations.
15

16            75.   Defendant admits that an immigration judge granted the person believed to

17   be Ana asylum on March 29, 2019. Defendant lacks information sufficient to form a
18
     belief as to the remaining allegations.
19
              76.   Defendant lacks information sufficient to form a belief as to these
20

21   allegations.

22            77.   Defendant admits that a June 26, 2018 Order in Ms. L. ordered the
23
     reunification of some families. Defendant denies that the only reason the person believed
24
     to be Ana was reunited with the persons believed to be Mateo and Jaime was the Ms. L.
25

26
     Order.

27

28
                                                  19
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 1          78.     Defendant admits that the person believed to be Karina was 16 years old at

 2   the time the First Amended Complaint was filed. Defendant admits that the person
 3
     believed to be Karina is the daughter of the person believed to be Lorena. Defendant
 4
     lacks information sufficient to form a belief as to the remaining allegations.
 5

 6          79.     Defendant admits that the persons believed to be Lorena and Karina applied

 7   for admission into the United States at the DeConcini Port of Entry in Nogales, Arizona
 8
     on December 22, 2017. Defendant admits that the person believed to be Karina was 13
 9
     years old at the time. Defendant admits that the persons believed to be Lorena and
10

11   Karina were taken into CBP custody. Defendant lacks information sufficient to form a

12   belief as to the remaining allegations.
13
            80.     Defendant admits that the persons believed to be Lorena and Karina were
14
     held in detention facilities in Arizona. Defendant denies the allegations in sentences five
15

16   and seven. Defendant lacks information sufficient to form a belief as to the remaining

17   allegations.
18
            81.     Defendant lacks information sufficient to form a belief as to these
19
     allegations.
20

21          82.     Defendant lacks information sufficient to form a belief as to these

22   allegations.
23
            83.     Defendant lacks information sufficient to form a belief as to these
24
     allegations.
25

26
            84.     Defendant lacks information sufficient to form a belief as to these

27   allegations.
28
                                                  20
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 1          85.     Defendant admits that the person believed to be Lorena was held at the

 2   Eloy Detention Center in Eloy, Arizona for approximately three months and at the
 3
     Florence Correctional Center for one night. Defendant lacks information sufficient to
 4
     form a belief as to the remaining allegations.
 5

 6          86.     Defendant lacks information sufficient to form a belief as to these

 7   allegations.
 8
            87.     Defendant lacks information sufficient to form a belief as to these
 9
     allegations.
10

11          88.     Defendant denies that immigration officials made misrepresentations or lied

12   to the person believed to be Lorena. Defendant denies that ICE officers falsely informed
13
     the person believed to be Lorena that asylum was no longer available to adults from El
14
     Salvador. Defendant admits that the person believed to be Lorena signed English-
15

16   language forms while in detention. Defendant denies that federal officers failed to

17   explain those forms to the person believed to be Lorena. Defendant denies that federal
18
     officials told the person believed to be Lorena that “consenting to removal was the only
19
     path to reunification with her daughter.” Defendant admits that the person believed to be
20

21   Lorena was removed to El Salvador March 21, 2018. Defendant denies that the person

22   believed to be Lorena’s decision to consent to removal was a result of “coercion and was
23
     an involuntary waiver of her rights.” Defendant lacks information sufficient to form a
24
     belief as to the remaining allegations.
25

26
            89.     Defendant admits that the person believed to be Karina was placed at

27   Southwest Key Program’s Casa Kokopelli facility in Mesa, Arizona. Defendant admits
28
                                                  21
     Case 4:19-cv-00481-JCH Document 87 Filed 04/28/22 Page 22 of 55




 1   that the person believed to be Karina remained at Casa Kokopelli until she was

 2   transferred to Cayuga Centers Long Term Foster Care in the Bronx, New York.
 3
     Defendant lacks information sufficient to form a belief as to the remaining allegations.
 4
            90.     Defendant lacks information sufficient to form a belief as to these
 5

 6   allegations.

 7          91.     Defendant lacks information sufficient to form a belief as to these
 8
     allegations.
 9
            92.     Defendant lacks information sufficient to form a belief as to these
10

11   allegations.

12          93.     Defendant lacks information sufficient to form a belief as to these
13
     allegations.
14
            94.     Defendant admits that the person believed to be Diana is the daughter of the
15

16   person believed to be Jorge. Defendant admits that the person believed to be Diana was

17   seven years old at the time she was apprehended and was nine years old at the time the
18
     First Amended Complaint was filed. Defendant denies that the person believed to be
19
     Jorge and the person believed to be Diana indicated that they were seeking asylum upon
20

21   inspection. Defendant lacks information sufficient to form a belief as to the remaining

22   allegations.
23
            95.     Defendant lacks information sufficient to form a belief as to these
24
     allegations.
25

26
            96.     Defendant lacks information sufficient to form a belief as to these

27   allegations.
28
                                                  22
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 1          97.     Defendant admits that the person believed to be Jorge was held at three ICE

 2   detention centers, the El Paso Service Processing Center in El Paso, Texas, the West
 3
     Texas Detention Center in Sierra Blanca, Texas, and the Otero County Processing Center
 4
     in Chaparral, New Mexico. Defendant denies that the person believed to be Jorge was
 5

 6   detained for eight weeks. Defendant admits that the person believed to be Diana was

 7   transferred to ORR custody, placed at Southwest Key Casa Phoenix in Phoenix, Arizona.
 8
     Defendant admits that the person believed to be Diana was transferred to Southwest Key
 9
     Glendale in Glendale, Arizona. Defendant lacks information sufficient to form a belief as
10

11   to the remaining allegations.

12          98.     Defendant lacks information sufficient to form a belief as to these
13
     allegations
14
            99.     Defendant lacks information sufficient to form a belief as to these
15

16   allegations

17          100.    Defendant admits that the persons believed to be Jorge and Diana were
18
     reunited on or around July 20, 2018. Defendant lacks information sufficient to form a
19
     belief as the remaining allegations.
20

21          101.    Defendant lacks information sufficient to form a belief as to these

22   allegations.
23
            102.    Defendant lacks information sufficient to form a belief as to these
24
     allegations.
25

26
            103.    Defendant admits that the person believed to be Beatriz is the daughter of

27   the person believed to be Jairo. Defendant admits that the person believed to be Beatriz
28
                                                  23
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 1   was three years old at the time she entered the United States. Defendant admits that the

 2   persons believed to be Jairo and Beatriz were apprehended on December 24, 2017, near
 3
     San Luis, Arizona. Defendant lacks information sufficient to form a belief as to the
 4
     remaining allegations.
 5

 6          104.    Defendant lacks information sufficient to form a belief as to these

 7   allegations.
 8
            105.    Defendant lacks information sufficient to form a belief as to these
 9
     allegations.
10

11          106.    Defendant lacks information sufficient to form a belief as to these

12   allegations.
13
            107.    Defendant lacks information sufficient to form a belief as to these
14
     allegations.
15

16          108.    Defendant admits that the person believed to be Jairo was detained at the

17   Florence Detention Center in Florence, Arizona. Defendant lacks information sufficient
18
     to form a belief as to the remaining allegations.
19
            109.    Defendant admits that the person believed to be Jairo was removed to
20

21   Guatemala on January 19, 2018. Defendant admits that the person believed to be Jairo

22   signed documents relating to his removal which were in English. Defendant admits that
23
     the person believed to be Beatriz was removed to Guatemala on or around April 2018.
24
     Defendant lacks information sufficient to form a belief as to the remaining allegations.
25

26
            110.    Defendant admits that the person believed to be Jairo was detained in

27   Arizona. Defendant admits that the person believed to be Beatriz was placed in ORR
28
                                                  24
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 1   custody, and later in foster care in New York. Defendant lacks information sufficient to

 2   form a belief as to the remaining allegations.
 3
            111.    Defendant admits that the person believed to be Beatriz was understood to
 4
     speak Mam. Defendant admits that Mam is a Mayan language. Defendant lacks
 5

 6   information sufficient to form a belief as to the remaining allegations.

 7          112.    Defendant lacks information sufficient to form a belief as to these
 8
     allegations.
 9
            113.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
10

11   this action. Therefore, no response is necessary.

12          114.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
13
     this action. Therefore, no response is necessary.
14
            115.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
15

16   this action. Therefore, no response is necessary.

17          116.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
18
     this action. Therefore, no response is necessary.
19
            117.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
20

21   this action. Therefore, no response is necessary.

22          118.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
23
     this action. Therefore, no response is necessary.
24
            119.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
25

26
     this action. Therefore, no response is necessary.

27          120.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
28
                                                  25
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 1   this action. Therefore, no response is necessary.

 2          121.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
 3
     this action. Therefore, no response is necessary.
 4
            122.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
 5

 6   this action. Therefore, no response is necessary.

 7          123.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
 8
     this action. Therefore, no response is necessary.
 9
            124.    These allegations relate to J.J.P.B. and A.E.P.F., who were dismissed from
10

11   this action. Therefore, no response is necessary.

12          125.    Defendant admits that John Kelly was Secretary of Homeland Security in
13
     early 2017 and later served as White House Chief of Staff. Defendant admits that
14
     Stephen Miller was a Senior Advisor to the President. Defendant admits that Kristjen
15

16   Nielsen was Chief of Staff to John Kelly for some of his tenure as Secretary of Homeland

17   Security, and that Nielsen was later Secretary of Homeland Security. Defendant admits
18
     that Gene Hamilton was a Counselor to Attorney General Jefferson Sessions. Defendant
19
     admits that Lee Cissna was the Director of United States Citizenship and Immigration
20

21   Services. Defendant denies that the above named individuals began discussing family

22   separations as a means to punish Central American immigrants and to discourage Central
23
     Americans from applying for asylum in the United States.
24
            126.    Defendant lacks information sufficient to form a belief as to these
25

26
     allegations.

27          127.    Defendant lacks information sufficient to form a belief as to these
28
                                                  26
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 1   allegations.

 2          128.    Defendant admits that on February 14, 2018, Commander Jonathan White
 3
     was the Deputy Director for Children’s Programs in the Department of Health and
 4
     Human Service’s Office of Refugee Resettlement. Defendant admits that Commander
 5

 6   White was a career officer in the U.S. Public Health Service Commissioned Corps.

 7   Defendant admits that Commander White testified before Congress that he raised
 8
     concerns regarding family separation to department leadership. Defendant lacks
 9
     information sufficient to form a belief as to the remaining allegations.
10

11          129.    Defendant admits that the quoted words are found in the cited document.

12   Insofar as the quotations are intended to be allegations, Defendant lacks information
13
     sufficient to form a belief as to these allegations.
14
            130.    Defendant admits that on March 6, 2017, Kelly was the Secretary of
15

16   Homeland Security. Defendant admits that on March 6, 2017, Kelly gave an interview

17   with CNN. Defendant lacks information sufficient to form a belief as to the remaining
18
     allegations.
19
            131.    Defendant lacks information sufficient to form a belief as to these
20

21   allegations.

22          132.    Defendant lacks information sufficient to form a belief as to these
23
     allegations.
24
            133.    Defendant admits that the President of the American Academy of Pediatrics
25

26
     issued a statement on May 8, 2018. Defendant lacks information sufficient to form a

27   belief as to the remaining allegations.
28
                                                   27
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 1          134.    Defendant admits that Kelly testified before Congress on April 5, 2017.

 2   Defendant lacks information sufficient to form a belief as to the remaining allegations.
 3
            135.    Defendant denies that officials began a “covert ‘pilot program’ to test
 4
     family separations.” Defendant lacks information sufficient to form a belief as to the
 5

 6   remaining allegations

 7          136.    Defendant denies these allegations.
 8
            137.    Defendant admits that Scott Lloyd was the Director of ORR. Defendant
 9
     denies the remaining allegations.
10

11          138.    Defendant admits that Maggie Wynne was a Counselor to the HHS

12   Secretary for Human Services Policies in 2017 and 2018. Defendant lacks information
13
     sufficient to form a belief as to the remaining allegations.
14
            139.    Defendant admits that some children were separated from their parents in
15

16   2017. Defendant lacks information sufficient to form a belief as to the remaining

17   allegations.
18
            140.    Defendant admits that children may be transported to ORR-contracted
19
     facilities. Defendant denies that those responsible for a child’s care were not informed
20

21   that the child had been separated from his or her parent. Defendant lacks information

22   sufficient to form a belief as to the remaining allegations.
23
            141.    Defendant lacks information sufficient to form a belief as to these
24
     allegations.
25

26
            142.    Defendant lacks information sufficient to form a belief as to these

27   allegations.
28
                                                  28
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 1          143.    Defendant lacks information sufficient to form a belief as to these

 2   allegations.
 3
            144.    Defendant lacks information sufficient to form a belief as to these
 4
     allegations.
 5

 6          145.    Defendant lacks information sufficient to form a belief as to these

 7   allegations.
 8
            146.    Defendant lacks information sufficient to form a belief as to these
 9
     allegations.
10

11          147.    Defendant lacks information sufficient to form a belief as to these

12   allegations.
13
            148.    Defendant lacks information sufficient to form a belief as to these
14
     allegations.
15

16          149.    Defendant lacks information sufficient to form a belief as to these

17   allegations.
18
            150.    Defendant admits that a complaint was filed in Ms. L. v. ICE, Case 4:19-cv-
19
     00481-SHR (S.D. Cal.) on February 26, 2018. Defendant admits that the complaint
20

21   named Homan, Secretary Nielsen, Attorney General Sessions, Commissioner

22   McAleenan, Director Cissna, Secretary Azar, and Director Lloyd as defendants in Ms. L.
23
     Defendant admits that in a later filing, those individuals named above were named as
24
     defendants in a class action habeas petition. Defendant lacks information sufficient to
25

26
     form a belief as to the remaining allegations.

27          151.    Defendant admits that Commissioner McAleenan and Director Cissna
28
                                                  29
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 1   submitted a memorandum to Secretary Nielsen. Defendant lacks information sufficient

 2   to form a belief as the remaining allegations
 3
            152.    Defendant lacks information sufficient to form a belief as to these
 4
     allegations.
 5

 6          153.    Defendant lacks information sufficient to form a belief as to these

 7   allegations.
 8
            154.    Defendant admits that agency officials discussed the topic of family
 9
     separations. Defendant lacks information sufficient to form a belief as to the remaining
10

11   allegations.

12          155.    Defendant admits that some children were separated from their parents in
13
     early 2018. Defendant lacks information sufficient to form a belief as to the remaining
14
     allegations.
15

16          156.    Defendant denies these allegations.

17          157.    Defendant lacks information sufficient to form a belief as to these
18
     allegations.
19
            158.    Defendant lacks information sufficient to form a belief as to these
20

21   allegations.

22          159.    Defendant lacks information sufficient to form a belief as to these
23
     allegations.
24
            160.    Defendant admits that on April 6, 2018, the Attorney General issued a
25

26
     memorandum for federal prosecutors along the Southwest border regarding “zero-

27   tolerance” for offenses under 8 U.S.C. § 1325(a). Defendant lacks information sufficient
28
                                                  30
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 1   to form a belief as to the remaining allegations.

 2          161.    Defendant denies this allegation.
 3
            162.    Defendant denies that Zero Tolerance was “a pretext or cover for the goal
 4
     of furthering widespread separations of Central American parents and children along the
 5

 6   southern border.” Defendant lacks information sufficient to form a belief as to the

 7   remaining allegations.
 8
            163.    Defendant admits that some children were designated as unaccompanied
 9
     alien children and placed in the custody of ORR. Defendant denies that parents were
10

11   transported to ICE custody after prosecution in order to “ensure” that they were separated

12   from their children. Defendant lacks information sufficient to form a belief as to the
13
     remaining allegations.
14
            164.    Defendant admits that a child cannot be housed in a jail with his or her
15

16   parent. Defendant lacks information sufficient to form a belief as to the remaining

17   allegations.
18
            165.    Defendant lacks information sufficient to form a belief as to these
19
     allegations.
20

21          166.    Defendant lacks sufficient information to form a belief as to the allegation

22   that governmental officials have stated that Zero Tolerance was evenhanded and was
23
     designed to prosecute anyone who illegally entered into the United States. Defendant
24
     denies the remaining allegations.
25

26
            167.    Defendant admits that a House Oversight Staff Report states that 2,231

27   children were separated from their parents between May 7 and June 20, 2018. Defendant
28
                                                  31
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 1   lacks information sufficient to form a belief as to the remaining allegations.

 2          168.    Defendant denies these allegations.
 3
            169.    Defendant admits that the person believed to be Lorena presented herself
 4
     for inspection at a port of entry. Defendant lacks information sufficient to form a belief
 5

 6   as to the remaining allegations.

 7          170.    The allegation that government officials were “deliberately indifferent” is a
 8
     legal conclusion to which no response is required. To the extent an answer is required,
 9
     Defendant denies this allegation. Defendant denies the remaining allegations.
10

11          171.    Defendant denies that DHS officials intended to punish those in their

12   custody. Defendant lacks information sufficient to form a belief as to the remaining
13
     allegations.
14
            172.    Defendant admits that some separated children were placed in ORR
15

16   custody and transported to ORR-grantee facilities throughout the country. Defendant

17   denies that children placed in ORR custody received no explanation regarding what was
18
     going on. Defendant denies that DHS officials and employees intentionally withheld
19
     information from the children placed in ORR custody or instructed others to do the same.
20

21   Defendant lacks information sufficient to form a belief as to the remaining allegations.

22          173.    Defendant lacks information sufficient to form a belief as to these
23
     allegations.
24
            174.    Defendant admits that the July 2019 House Oversight Staff Report states
25

26
     that separated children were in ORR custody for on average 90 days. Defendant lacks

27   information sufficient to form a belief as to the remaining allegations.
28
                                                  32
     Case 4:19-cv-00481-JCH Document 87 Filed 04/28/22 Page 33 of 55




 1          175.    Defendant admits that the quoted words are found in the cited document.

 2   Insofar as the quotations are intended to be allegations, defendant lacks information
 3
     sufficient to form a belief as to these allegations. Defendant lacks information sufficient
 4
     to form a belief as to these allegations.
 5

 6          176.    Defendant lacks information sufficient to form a belief as to these

 7   allegations.
 8
            177.    Defendant admits that the cited Ms. L. order instructed the government to
 9
     facilitate communication between separated parents and children. Defendant lacks
10

11   information sufficient to form a belief as to the remaining allegations.

12          178.    Defendant denies these allegations.
13
            179.    Defendant denies these allegations.
14
            180.    The allegation that parents were unlawfully denied an opportunity to seek
15

16   asylum is a conclusion of law to which no answer is necessary. To the extent an answer

17   is required, Defendant denies this allegation. Defendant lacks information sufficient to
18
     form a belief as to the remaining allegations.
19
            181.    Defendant lacks information sufficient to form a belief as to these
20

21   allegations.

22          182.    Defendant lacks information sufficient to form a belief as to these
23
     allegations.
24
            183.    Defendant lacks information sufficient to form a belief as to these
25

26
     allegations.

27          184.    Defendant lacks information sufficient to form a belief as to these
28
                                                  33
     Case 4:19-cv-00481-JCH Document 87 Filed 04/28/22 Page 34 of 55




 1   allegations.

 2          185.    Defendant admits that the persons believed to be Lorena and Jairo were
 3
     removed without their children. To the extent that these allegations related to the claims
 4
     of Jacinto, who was dismissed from this action, no response is necessary. Defendant
 5

 6   lacks information sufficient to form a belief as to the remaining allegations.

 7          186.    Defendant lacks information sufficient to form a belief as to these
 8
     allegations.
 9
            187.    Defendant lacks information sufficient to form a belief as to these
10

11   allegations.

12          188.    Defendant lacks information sufficient to form a belief as to these
13
     allegations.
14
            189.    The allegation that HHS breached its duty to properly care for the children
15

16   in ORR custody is a conclusion of law to which no answer is necessary. To the extent an

17   answer is required, Defendant denies this allegation. Defendant lacks information
18
     sufficient to form a belief as to the remaining allegations.
19
            190.    Defendant lacks information sufficient to form a belief as to these
20

21   allegations.

22          191.    Defendant lacks information sufficient to form a belief as to these
23
     allegations.
24
            192.    Defendant lacks information sufficient to form a belief as to these
25

26
     allegations.

27          193.    Defendant lacks information sufficient to form a belief as to these
28
                                                  34
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 1   allegations.

 2          194.    Defendant lacks information sufficient to form a belief as to these
 3
     allegations.
 4
            195.    Defendant lacks information sufficient to form a belief as to these
 5

 6   allegations.

 7          196.    Defendant admits that the quoted words are found in the cited document.
 8
     Insofar as the quotations are intended to be allegations, Defendant lacks information
 9
     sufficient to form a belief as to these allegations.
10

11          197.    The allegation that Directory Lloyd was part of a conspiracy is a conclusion

12   of law to which not response is required. To the extent and answer is required, Defendant
13
     denies this allegations. Defendant denies the remaining allegations.
14
            198.    The allegations that Director Lloyd and other HHS officials deliberately, or
15

16   knowingly and recklessly, failed to engage emergency planning teams or respond to the

17   changing demographics of unaccompanied children is a conclusion of law to which no
18
     answer is necessary. To the extent an answer is required, Defendant denies this
19
     allegation. Defendant lacks information sufficient to form a belief as to the remaining
20

21   allegations.

22          199.    Defendant lacks information sufficient to form a belief as to these
23
     allegations.
24
            200.    Defendant lacks information sufficient to form a belief as to these
25

26
     allegations.

27          201.    Defendant denies that HHS and ORR employees failed to inform facilities
28
                                                   35
     Case 4:19-cv-00481-JCH Document 87 Filed 04/28/22 Page 36 of 55




 1   that children in their care had been separated from their parents. Defendant admits that

 2   the quoted words are found in the cited document. Insofar as the quotations are intended
 3
     to be allegations, Defendant lacks information sufficient to form a belief as to these
 4
     allegations. Defendant lacks information sufficient to form a belief as to the remaining
 5

 6   allegations.

 7          202.    Defendant admits that the quoted words are found in the cited document.
 8
     Insofar as the quotations are intended to be allegations, Defendant lacks information
 9
     sufficient to form a belief as to these allegations. Defendant lacks information sufficient
10

11   to form a belief as to the remaining allegations.

12          203.    Defendant denies that none of the facilities were warned about the
13
     separations. Defendant lacks information sufficient to form a belief as to the remaining
14
     allegations.
15

16          204.    Defendant lacks information sufficient to form a belief as to these

17   allegations.
18
            205.    Defendant denies that foster families were not told that children had been
19
     separated from their parents. Defendant lacks information sufficient to form a belief as to
20

21   the remaining allegations.

22          206.    Defendant lacks information sufficient to form a belief as to the remaining
23
     allegations.
24
            207.    The allegation that DHS and HHS employees ordered, facilitated, and
25

26
     executed separations with deliberate indifference to the importance of children’s medical

27   histories is a conclusion of law to which no answer is necessary. To the extent an answer
28
                                                  36
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 1   is required, Defendant denies this allegation. Defendant lacks information sufficient to

 2   form a belief as to the remaining allegations.
 3
            208.    Defendant lacks information sufficient to form a belief as to these
 4
     allegations.
 5

 6          209.    Defendant admits that the quoted words are found in the cited document.

 7   Insofar as the quotations are intended to be allegations, Defendant lacks information
 8
     sufficient to form a belief.
 9
            210.    Defendant lacks information sufficient to form a belief as to these
10

11   allegations.

12          211.    Defendant lacks information sufficient to form a belief as to these
13
     allegations.
14
            212.    Defendant lacks information sufficient to form a belief as to these
15

16   allegations.

17          213.    Defendant lacks information sufficient to form a belief as to these
18
     allegations.
19
            214.    Defendant admits that the quoted words are found in the cited documents.
20

21   Insofar as the quotations are intended to be allegations, Defendant lacks information

22   sufficient to form a belief. Defendant lacks information sufficient to form a belief as to
23
     the remaining allegations.
24
            215.    Defendant admits that the quoted words are found in the cited document.
25

26
     Insofar as the quotations are intended to be allegations, Defendant lacks information

27   sufficient to form a belief. Defendant lacks information sufficient to form a belief as to
28
                                                  37
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 1   the remaining allegations.

 2          216.    Defendant lacks information sufficient to form a belief as to these
 3
     allegations.
 4
            217.    Defendant admits that the quoted words are found in interview transcripts
 5

 6   of the cited interviews. Defendant lacks information sufficient to form a belief as to the

 7   remaining allegations.
 8
            218.    Defendant admits that the quoted words are found in the testimony
 9
     transcripts. Defendant admits that the quoted words are found in a Twitter post.
10

11   Defendant lacks information sufficient to form a belief as to the remaining allegations.

12          219.    Defendant admits that President Trump issued an Executive Order on June
13
     20, 2018, entitled “Affording Congress an Opportunity to Address Family Separation.”
14
     Defendant lacks information sufficient to form a belief as to the remaining allegations.
15

16          220.    Defendant denies that reunifications occurred only after a federal judge in

17   the Ms. L. litigation ordered the government to reunite separated families. Defendant
18
     lacks information sufficient to form a belief as to the remaining allegations.
19
            221.    Defendant denies that on July 26, 2018, the federal court in Ms. L. issued a
20

21   preliminary injunction. Defendant lacks information sufficient to form a belief as to the

22   remaining allegations.
23
            222.    Defendant admits that the quoted words are found in the cited document.
24
     Insofar as the quotations are intended to be allegations, Defendant lacks information
25

26
     sufficient to form a belief. Defendant lacks information sufficient to form a belief as to

27   the remaining allegations.
28
                                                  38
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 1          223.    Defendant admits that the quoted words are found in the cited document.

 2   Insofar as the quotations are intended to be allegations, Defendant lacks information
 3
     sufficient to form a belief. Defendant lacks information sufficient to form a belief as to
 4
     the remaining allegations.
 5

 6          224.    Defendant admits that the quoted words are found in the cited document.

 7   Insofar as the quotations are intended to be allegations, Defendant lacks information
 8
     sufficient to form a belief. Defendant lacks information sufficient to form a belief as to
 9
     the remaining allegations.
10

11          225.    Defendant admits that the quoted words are found in the cited document.

12   Insofar as the quotations are intended to be allegations, Defendant lacks information
13
     sufficient to form a belief.
14
            226.    Defendant admits that on December 12, 2018, ORR reported to the Ms. L.
15

16   court that it had identified more than 2,800 children believed to have been separated from

17   their parents. Defendant lacks information sufficient to form a belief as to the remaining
18
     allegations.
19
            227.    The allegation that families remain unlawfully separated is a conclusion of
20

21   law to which no response is required. To the extent an answer is required, Defendant

22   lacks information sufficient to form a belief as to this allegation. Defendant denies that
23
     separations were not recorded anywhere. Defendant lacks information sufficient to form
24
     a belief as to the remaining allegations.
25

26
            228.    Defendant lacks information sufficient to form a belief as to these

27   allegations.
28
                                                  39
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 1          229.    Defendant admits that some children who were separated from their parents

 2   were designated as unaccompanied children. Defendant denies that familial relationships
 3
     of separated children and parents were excluded from the individuals’ records.
 4
     Defendant denies that DHS and HHS erased their separations. Defendant lacks
 5

 6   information sufficient to form a belief as to the remaining allegations.

 7          230.    Defendant denies that the quoted words are found in the cited document.
 8
     Defendant lacks information sufficient to form a belief as to the remaining allegations.
 9
            231.    Defendant admits that the quoted words are found in the cited document.
10

11   Insofar as the quotations are intended to be allegations, Defendant lacks information

12   sufficient to form a belief. Defendant denies the remaining allegations.
13
            232.    Defendant lacks information sufficient to form a belief as to these
14
     allegations.
15

16          233.    Defendant admits that the quoted words are found in the cited document.

17   Insofar as the quotations are intended to be allegations, Defendant lacks information
18
     sufficient to form a belief as to these allegations. Defendant lacks information sufficient
19
     to form a belief as to the remaining allegations.
20

21          234.    Defendant admits that the quoted words are found in the cited document.

22   Insofar as the quotations are intended to be allegations, Defendant lacks information
23
     sufficient to form a belief as to these allegations. Defendant lacks information sufficient
24
     to form a belief as to the remaining allegations.
25

26
            235.    Defendant denies the allegations in the first sentence. Defendant lacks

27   information sufficient to form a belief as to the remaining allegations.
28
                                                  40
     Case 4:19-cv-00481-JCH Document 87 Filed 04/28/22 Page 41 of 55




 1          236.    Defendant admits that some parents and children entering the United States

 2   at the time the First Amended Complaint was filed may have been separated. Defendant
 3
     lacks information sufficient to form a belief as to the remaining allegations.
 4
            237.    Defendant lacks information sufficient to form a belief as to these
 5

 6   allegations.

 7          238.    Defendant lacks information sufficient to form a belief as to these
 8
     allegations.
 9
            239.    Defendant admits that Hastings testified before the House Judiciary
10

11   Committee. Defendant denies that Hastings testified that a child had been separated

12   based on a parent’s HIV status. Defendant lacks information sufficient to form a belief as
13
     to the remaining allegations.
14
            240.    Defendant admits that the quoted words are found in the cited document.
15

16   Insofar as the quotations are intended to be allegations, Defendant lacks information

17   sufficient to form a belief as to these allegations.
18
            241.    Defendant admits that the President Trump responded to questions from
19
     reporters with the quoted words. Defendant admits that President Trump posted the
20

21   quoted words on Twitter. Defendant lacks information sufficient to form a belief as to

22   the remaining allegations.
23
            242.    Defendant denies the allegations regarding the “Conspiracy Defendants”.
24
     Defendant lacks information sufficient to form a belief as to the remaining allegations.
25

26
            243.    Defendant denies this allegation.

27          244.    Defendant lacks information sufficient to form a belief as to the remaining
28
                                                   41
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 1   allegations.

 2          245.    Defendant lacks information sufficient to form a belief as to these
 3
     allegations.
 4
            246.     Defendant lacks information sufficient to form a belief as to these
 5

 6   allegations.

 7          247.    Defendant lacks information sufficient to form a belief as to these
 8
     allegations.
 9
            248.    Defendant admits that former President Trump has spoken publicly about
10

11   MS-13. Defendant lacks information sufficient to form a belief as to the remaining

12   allegations.
13
            249.     Defendant lacks information sufficient to form a belief as to these
14
     allegations.
15

16          250.    Defendant lacks information sufficient to form a belief as to these

17   allegations.
18
            251.    Defendant lacks information sufficient to form a belief as to these
19
     allegations.
20

21          252.    Defendant lacks information sufficient to form a belief as to these

22   allegations.
23
            253.    Defendant lacks information sufficient to form a belief as to these
24
     allegations.
25

26
            254.    Defendant admits that Miller served as a Senate aide to former Attorney

27   General Sessions. Defendant lacks information sufficient to form a belief as to the
28
                                                  42
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 1   remaining allegations.

 2          255.    Defendant denies these allegations.
 3
            256.    Defendant admits that Kevin McAleenan was a former CBP Commissioner
 4
     and Mark Morgan was the CBP Commissioner at the time the First Amended Complaint
 5

 6   was filed. Defendant denies that bigotry is pervasive among CBP agents. Defendant

 7   lacks information sufficient to form a belief as to the remaining allegations.
 8
            257.    Defendant lacks information sufficient to form a belief as to these
 9
     allegations.
10

11          258.    Defendant lacks information sufficient to form a belief as to these

12   allegations.
13
            259.    Defendant lacks information sufficient to form a belief as to these
14
     allegations.
15

16          260.    Defendant lacks information sufficient to form a belief as to these

17   allegations.
18
            261.    Defendant lacks information sufficient to form a belief as to these
19
     allegations.
20

21          262.    Defendant lacks information sufficient to form a belief as to these

22   allegations.
23
            263.    Defendant lacks information sufficient to form a belief as to these
24
     allegations.
25

26
            264.    Defendant lacks information sufficient to form a belief as to these

27   allegations.
28
                                                  43
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 1          265.    Defendant lacks information sufficient to form a belief as to these

 2   allegations.
 3
            266.    Defendant lacks information sufficient to form a belief as to these
 4
     allegations.
 5

 6          267.    Defendant lacks information sufficient to form a belief as to these

 7   allegations.
 8
            268.    Defendant lacks information sufficient to form a belief as to these
 9
     allegations.
10

11          269.    Defendant lacks information sufficient to form a belief as to these

12   allegations.
13
            270.    These allegations relate to claims against the individual defendants, who
14
     were dismissed from this action. Therefore, no response is necessary.
15

16          271.    These allegations relate to claims against the individual defendants, who

17   were dismissed from this action. Therefore, no response is necessary.
18
            272.    These allegations relate to claims against the individual defendants, who
19
     were dismissed from this action. Therefore, no response is necessary.
20

21          273.    These allegations relate to claims against the individual defendants, who

22   were dismissed from this action. Therefore, no response is necessary.
23
            274.    These allegations relate to claims against the individual defendants, who
24
     were dismissed from this action. Therefore, no response is necessary.
25

26
            275.    These allegations relate to claims against the individual defendants, who

27   were dismissed from this action. Therefore, no response is necessary.
28
                                                  44
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 1          276.   These allegations relate to claims against the individual defendants, who

 2   were dismissed from this action. Therefore, no response is necessary.
 3
            277.   These allegations relate to claims against the individual defendants, who
 4
     were dismissed from this action. Therefore, no response is necessary.
 5

 6          278.   These allegations relate to claims against the individual defendants, who

 7   were dismissed from this action. Therefore, no response is necessary.
 8
            279.   These allegations relate to claims against the individual defendants, who
 9
     were dismissed from this action. Therefore, no response is necessary.
10

11          280.   These allegations relate to claims against the individual defendants, who

12   were dismissed from this action. Therefore, no response is necessary.
13
            281.   These allegations relate to claims against the individual defendants, who
14
     were dismissed from this action. Therefore, no response is necessary.
15

16          282.   This allegation is not an allegation of fact to which a response is required.

17   To the extent an answer is required, Defendant denies this allegation.
18
            283.   These allegations relate to claims against the individual defendants, who
19
     were dismissed from this action. Therefore, no response is necessary.
20

21          284.   These allegations relate to claims against the individual defendants, who

22   were dismissed from this action. Therefore, no response is necessary.
23
            285.   These allegations relate to claims against the individual defendants, who
24
     were dismissed from this action. Therefore, no response is necessary.
25

26
            286.   These allegations relate to claims against the individual defendants, who

27   were dismissed from this action. Therefore, no response is necessary.
28
                                                  45
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 1          287.    These allegations are not statements of fact but are conclusions of law to

 2   which no answer is required. To the extent an answer is required, Defendant denies these
 3
     allegations.
 4
            288.    These allegations relate to claims against the individual defendants, who
 5

 6   were dismissed from this action. Therefore, no response is necessary.

 7          289.    These allegations relate to claims against the individual defendants, who
 8
     were dismissed from this action. Therefore, no response is necessary.
 9
            290.    These allegations relate to claims against the individual defendants, who
10

11   were dismissed from this action. Therefore, no response is necessary.

12          291.    These allegations related to claims against the individual defendants, who
13
     were dismissed from this action. Therefore, no response is necessary.
14
            292.    This allegation relates to claims against the individual defendants, who
15

16   were dismissed from this action. Therefore, no response is necessary.

17          293.    This allegation is not an allegation of fact to which a response is required.
18
     To the extent an answer is required, Defendant denies this allegation.
19
            294.    These allegations relate to claims against the individual defendants, who
20

21   were dismissed from this action. Therefore, no response is necessary.

22          295.    This allegation relates to claims against the individual defendants, who
23
     were dismissed from this action. Therefore, no response is necessary.
24
            296.    This allegation relates to claims against the individual defendants, who
25

26
     were dismissed from this action. Therefore, no response is necessary.

27          297.    This allegation relates to claims against the individual defendants, who
28
                                                   46
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 1   were dismissed from this action. Therefore, no response is necessary.

 2          298.   These allegations relate to claims against the individual defendants, who
 3
     were dismissed from this action. Therefore, no response is necessary.
 4
            299.   These allegations relate to claims against the individual defendants, who
 5

 6   were dismissed from this action. Therefore, no response is necessary.

 7          300.   These allegations relate to claims against the individual defendants, who
 8
     were dismissed from this action. Therefore, no response is necessary.
 9
            301.   These allegations relate to claims against the individual defendants, who
10

11   were dismissed from this action. Therefore, no response is necessary.

12          302.   These allegations relate to claims against the individual defendants, who
13
     were dismissed from this action. Therefore, no response is necessary.
14
            303.   This allegation is not an allegation of fact to which a response is required.
15

16   To the extent a response is required, Defendant denies this allegation.

17          304.   These allegations relate to claims against the individual defendants, who
18
     were dismissed from this action. Therefore, no response is necessary.
19
            305.   This allegations relate to claims against the individual defendants, who
20

21   were dismissed from this action. Therefore, no response is necessary.

22          306.   These allegations relate to claims against the individual defendants, who
23
     were dismissed from this action. Therefore, no response is necessary.
24
            307.   These allegations relate to claims against the individual defendants, who
25

26
     were dismissed from this action. Therefore, no response is necessary.

27          308.   These allegations relate to claims against the individual defendants, who
28
                                                  47
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 1   were dismissed from this action. Therefore, no response is necessary.

 2          309.   These allegations relate to claims against the individual defendants, who
 3
     were dismissed from this action. Therefore, no response is necessary.
 4
            310.   These allegations relate to claims against the individual defendants, who
 5

 6   were dismissed from this action. Therefore, no response is necessary.

 7          311.   These allegations relate to claims against the individual defendants, who
 8
     were dismissed from this action. Therefore, no response is necessary.
 9
            312.   This allegation is not an allegation of fact to which a response is required.
10

11   To the extent a response is required, Defendant denies this allegation.

12          313.   These allegations relate to claims against the individual defendants, who
13
     were dismissed from this action. Therefore, no response is necessary.
14
            314.   These allegations relate to claims against the individual defendants, who
15

16   were dismissed from this action. Therefore, no response is necessary.

17          315.   These allegations relate to claims against the individual defendants, who
18
     were dismissed from this action. Therefore, no response is necessary.
19
            316.   These allegations relate to claims against the individual defendants, who
20

21   were dismissed from this action. Therefore, no response is necessary.

22          317.   These allegations relate to claims against the individual defendants, who
23
     were dismissed from this action. Therefore, no response is necessary.
24
            318.   These allegations relate to claims against the individual defendants, who
25

26
     were dismissed from this action. Therefore, no response is necessary.

27          319.   These allegations relate to claims against the individual defendants, who
28
                                                  48
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 1   were dismissed from this action. Therefore, no response is necessary.

 2          320.   This allegation is not an allegation of fact to which a response is required.
 3
     To the extent a response is required, Defendant denies this allegation.
 4
            321.   These allegations relate to claims against the individual defendants, who
 5

 6   were dismissed from this action. Therefore, no response is necessary.

 7          322.   These allegations relate to claims against the individual defendants, who
 8
     were dismissed from this action. Therefore, no response is necessary.
 9
            323.   These allegations relate to claims against the individual defendants, who
10

11   were dismissed from this action. Therefore, no response is necessary.

12          324.   These allegations relate to claims against the individual defendants, who
13
     were dismissed from this action. Therefore, no response is necessary.
14
            325.   These allegations relate to claims against the individual defendants, who
15

16   were dismissed from this action. Therefore, no response is necessary.

17          326.   These allegations relate to claims against the individual defendants, who
18
     were dismissed from this action. Therefore, no response is necessary.
19
            327.   These allegations relate to claims against the individual defendants, who
20

21   were dismissed from this action. Therefore, no response is necessary.

22          328.   These allegations relate to claims against the individual defendants, who
23
     were dismissed from this action. Therefore, no response is necessary.
24
            329.   This allegation is not an allegation of fact to which a response is required.
25

26
     To the extent a response is required, Defendant denies this allegation.

27          330.   These allegations relate to claims against the individual defendants, who
28
                                                  49
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 1   were dismissed from this action. Therefore, no response is necessary.

 2          331.   These allegations relate to claims against the individual defendants, who
 3
     were dismissed from this action. Therefore, no response is necessary.
 4
            332.   These allegations relate to claims against the individual defendants, who
 5

 6   were dismissed from this action. Therefore, no response is necessary.

 7          333.   These allegations relate to claims against the individual defendants, who
 8
     were dismissed from this action. Therefore, no response is necessary.
 9
            334.   These allegations relate to claims against the individual defendants, who
10

11   were dismissed from this action. Therefore, no response is necessary.

12          335.   These allegations relate to claims against the individual defendants, who
13
     were dismissed from this action. Therefore, no response is necessary.
14
            336.   These allegations relate to claims against the individual defendants, who
15

16   were dismissed from this action. Therefore, no response is necessary.

17          337.   These allegations relate to claims against the individual defendants, who
18
     were dismissed from this action. Therefore, no response is necessary.
19
            338.   These allegations relate to claims against the individual defendants, who
20

21   were dismissed from this action. Therefore, no response is necessary.

22          339.   This allegation is not an allegation of fact to which a response is required.
23
     To the extent a response is required, Defendant denies this allegation.
24
            340.   These allegations relate to claims against the individual defendants, who
25

26
     were dismissed from this action. Therefore, no response is necessary.

27          341.   These allegations relate to claims against the individual defendants, who
28
                                                  50
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 1   were dismissed from this action. Therefore, no response is necessary.

 2          342.    These allegations relate to claims against the individual defendants, who
 3
     were dismissed from this action. Therefore, no response is necessary.
 4
            343.    These allegations relate to claims against the individual defendants, who
 5

 6   were dismissed from this action. Therefore, no response is necessary.

 7          344.    These allegations relate to claims against the individual defendants, who
 8
     were dismissed from this action. Therefore, no response is necessary.
 9
            345.    This allegation is not an allegation of fact to which a response is required.
10

11   To the extent a response is required, Defendant denies this allegation.

12          346.    These allegations relate to claims against the individual defendants, who
13
     were dismissed from this action. Therefore, no response is necessary.
14
            347.    These allegations relate to claims against the individual defendants, who
15

16   were dismissed from this action. Therefore, no response is necessary.

17          348.    These allegations relate to claims against the individual defendants, who
18
     were dismissed from this action. Therefore, no response is necessary.
19
            349.    These allegations relate to claims against the individual defendants, who
20

21   were dismissed from this action. Therefore, no response is necessary.

22          350.    This allegation is not an allegation of fact to which a response is required.
23
     To the extent a response is required, Defendant denies this allegation.
24
            351.    These allegations are not statements of fact but are conclusions of law to
25

26
     which no answer is required. To the extent an answer is required, Defendant denies these

27   allegations.
28
                                                   51
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 1          352.    These allegations are not statements of fact but are conclusions of law to

 2   which no answer is required. To the extent an answer is required, Defendant denies these
 3
     allegations.
 4
            353.    These allegations are not statements of fact but are conclusions of law to
 5

 6   which no answer is required. To the extent an answer is required, Defendant denies these

 7   allegations.
 8
            354.    This allegation is not an allegation of fact to which a response is required.
 9
     To the extent a response is required, Defendant denies this allegation.
10

11          355.    These allegations are not statements of fact but are conclusions of law to

12   which no answer is required. To the extent an answer is required, Defendant denies these
13
     allegations.
14
            356.    These allegations are not statements of fact but are conclusions of law to
15

16   which no answer is required. To the extent an answer is required, Defendant denies these

17   allegations.
18
            357.    These allegations are not statements of fact but are conclusions of law to
19
     which no answer is required. To the extent an answer is required, Defendant denies these
20

21   allegations.

22          358.    These allegations are not statements of fact but are conclusions of law to
23
     which no answer is required. To the extent an answer is required, Defendant denies these
24
     allegations.
25

26
            359.    This allegation is not an allegation of fact to which a response is required.

27   To the extent a response is required, Defendant denies this allegation.
28
                                                   52
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 1          360.    These allegations are not statements of fact but conclusions of law to which

 2   no answer is required. To the extent an answer is required, Defendant denies these
 3
     allegations.
 4
            361.    These allegations are not statements of fact but are conclusions of law to
 5

 6   which no answer is required. To the extent an answer is required, Defendant denies these

 7   allegations.
 8
            362.    These allegations are not statements of fact but are conclusions of law to
 9
     which no answer is required. To the extent an answer is required, Defendant denies these
10

11   allegations.

12                                         Prayer for Relief
13
            Plaintiffs’ prayer for relief requires no response, but Defendant denies that
14
     Plaintiffs are entitled to any relief sought from the United States in Plaintiffs’ First
15

16   Amended Complaint.

17
     Dated: April 28, 2022                       Respectfully Submitted,
18

19

20                                               BRIAN M. BOYNTON
21                                               Principal Deputy Assistant Attorney General

22                                               JAMES G. TOUHEY, JR.
                                                 Director, Torts Branch
23

24                                               s/Irina M. Majumdar
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25                                               Trial Attorney
26
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                                                 PHILLIP D. MACWILLIAMS
27                                               Trial Attorney
                                                 D.C. Bar No. 482883
28
                                                   53
     Case 4:19-cv-00481-JCH Document 87 Filed 04/28/22 Page 54 of 55




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 5

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     Case 4:19-cv-00481-JCH Document 87 Filed 04/28/22 Page 55 of 55




 1
                                 CERTIFICATE OF SERVICE
 2
           I hereby certify that on April 28, 2022, I electronically transmitted the attached
 3
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4
     Notice of Electronic Filing to all CM/ECF registrants.
 5

 6
     s/Irina M. Majumdar
 7   IRINA M. MAJUMDAR
     Attorney for United States of America
 8

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